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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

        Plaintiff,

  v.

  MICHAEL J. LINDELL,
  FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants.


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             U.S. House Appropriations Subcommittee on Financial Service and General Government
                      "Election Security: Ensuring the Integrity of U.S. Election Systems"
                                                     February 27, 2019


                                         Statement of Dr. J. Alex Halderman
                     Professor of Computer Science and Engineering, University of Michigan
                          Director, Michigan Center for Computer Security and Society


        Chaiunan Quigley, Ranking Member Graves, and distinguished members, thank you for the
        opportunity to testify about this urgent matter of national security.


        Three years ago, the United States Presidential election was attacked. Hackers penetrated
        political campaigns and leaked internal communications online, they manipulated social media in
        an effort order to sow discord, and they targeted our election infrastructure, including voter
        registration systems in at least 18 states. These attacks were about more than undermining voter
        confidence. In the assessment of the Director of National Intelligence, they marked a"significant
        escalation" of foreign "efforts to undermine the U.S.-led liberal democratic order".'


        After two years of investigation by Congress and the intelligence community, we know that the
        attackers had the capability to do even more damage than they did. The Senate Select Committee
        on Intelligence has concluded that in some states, attackers "were in aposition to, at aminimum,
        alter or delete voter registration data."' Had they done so (and had it gone undetected), there
        would have been widespread chaos on Election Day, as voters across the vulnerable states
        showed up to the polls only to be told they weren't registered. We were spared such ablow to the
        foundations of American democracy only because Russia chose not to pull the trigger.

     Next time, things could be much worse, and it's not just voter registration systems that are at
     risk: the nation's voting machines are stunningly vulnerable to attacks that could sabotage the
     voting process or even invisibly alter tallies and change election outcomes. Iknow because I
     have developed such attacks myself as part of over adecade of research into election security
     threats and defenses.' Last fall, Chairman Quigley and Representative Katko invited me to
     demonstrate such an attack at abriefing on Capitol Hill. Ibrought atouch-screen voting machine
    used in 18 states, and we held asmall mock election. Iremotely hacked the voting machine to
     steal both Congressmen's votes and changed the election winner .4                                                   cc.


                                                                                                               EXHIBIT
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      Office of the Director of National Intelligence, "Assessing Russian Activities and Intentions in Recent US
    Elections", January 2017. https://www.dni.gov/files/documents/ICA 20 17_Ui .pdf
    2 U.S. Senate Select Committee on Intelligence, "Russian Targeting of Election Infrastructure During the 2016
    Election: Summary of Initial Findings and Recommendations", 2018.
    https://www.bmr.senate.gov/imo/media/doc/RussRptInst1mti%2oElecSec%2oFindingsRecs2pdf
     My curriculum vitae and research publications are available online at https://alexhalderman.com.
     Idemonstrated asimilar attack for The New York Times, as shown in this video:




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     This level of vulnerability is endemic throughout our election system. Cybersecurity experts
     have studied awide range of U.S. voting machines, and in every case, we've found problems that
     would allow attackers to sabotage machines and alter vote tallies.'

     Some people think that the decentralized nature of the U.S. voting system and the fact that voting
     machines aren't directly connected to the Internet make interfering in astate or national election
     impossible. Unfortunately, that isn't true. Some election functions are actually quite centralized,
     and our election infrastructure is not as distant from the Internet as it may seem.

     Before every election, voting machines and optical scanners need to be programmed with the
     design of the ballot, the races, and candidates. Election workers create this programming on a
     central computer called an election management system, then transfer it to voting machines using
     USB sticks or memory cards. Hackers who compromise an election management system can
     hijack the ballot programming process to spread avoter-stealing attack to large numbers of
     machines.

     Election management systems are often not adequately protected, and they are not always
     properly isolated from the Internet. Moreover, asmall number of election technology vendors
     and support contractors program and operate election management systems used by many local
     governments. The largest of these services over 2000 jurisdictions spread across 34 states.
     Attackers could target one or afew of these companies and spread an attack to election
     equipment that serves millions of voters.

     Furthermore, in close elections, decentralization can work against us. An attacker can probe the
     most important swing states or swing districts for vulnerabilities, find the areas that have the
     weakest protection, and strike there. In aclose election, changing afew votes may be enough to
     tip the result, and attackers can choose where—and on which equipment—to steal those votes.


     Fortunately, we know how to better defend election infrastructure and protect it from
     cyberattacks in 2020 and beyond. There are three essential measures:

         1.   First, we need to replace obsolete and vulnerable voting equipment, such as paperless
              systems, with optical scanners and paper ballots—a technology that 30 states already use
              statewide. Paper ballots provide aresilient physical record of the vote that simply can't
              be compromised by acyberattack.

         2.   Second, we need to consistently check that our election results are accurate, by inspecting
              enough paper ballots to tell whether the computer results from the optical scanners are
              right. This can be done with what's known as arisk-limiting audit (RLA). Such audits are
              acommon-sense quality control. By manually checking arandom sample of the ballots,
              officials can quickly and affordably provide high assurance that the election outcome is
              correct.


       For an accessible introduction to election cybersecurity, see my online course, Securing Digital Democracy, which
     is available for free on Coursera: https://www.coursera.org/learnldigital-democracy.



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             3.   Lastly, we need to raise the bar for attacks of all sorts—including both vote tampering
                  and sabotage—by applying cybersecurity best practices to the design of voting equipment
                  and registration systems and to the operation of computer systems at election offices.

          These are not simply my recommendations.' Paper ballots, manual audits, and security best
         practices are aprescription endorsed by the overwhelming majority of election security experts,
         and by the National Academies of Science, Engineering, and Medicine.','These measures are
         also widely favored by election officials.


         Many states have begun to implement these improvements using the $380 million in election
         cybersecurity funding that Congress appropriated last year. According to the Election Assistance
         Commission, states intend to use 36% of this funding ($136 million) for cybersecurity
         improvements, 28% ($103 million) for purchasing new voting equipment, and 6% ($21 million)
         for improving election audits.' These are necessary, appropriate, and urgent priorities.


         However, much more needs to be done before Americans go to the polls in 2020. Although some
         states have made significant progress towards securing their election infrastructure, other have
      barely gotten started, and the nation as whole remains apatchwork of strength and weakness.

      In 2018, 41 states used voting machines that were at least adecade old, and some, including parts
     of Pennsylvania and New Jersey, used machines dating from around 1990. Forty-three states
     used machines that are no longer manufactured, forcing election officials to cannibalize old
     machines for spare parts or even turn to eBay. Twelve states 10 still make widespread use of
     paperless direct-recording electronic (DRE) voting machines, which are impossible to reliably
     audit to detect potential errors or malfeasance. All of Georgia, for example, voted in November
     using the same model of vulnerable paperless DRE that Ihacked in front of Chairman Quigley
     last fall. After years ofunderinvesLment, America's election infrastructure is crumbling, and the
     $380 million can only serve as adown payment towards fixing it.


     Many states would like to replace vulnerable and obsolete voting equipment before 2020, but
     they are struggling to figure out how to pay for it. Pennsylvania, for instance, plans to switch
     from insecure paperless machines to paper ballots, but the state's share of last year's HAVA

     6 President Tramp himself has consistently endorsed the use of paper ballots, both as acandidate and since taking
     office. He made the point well in 2016: "There's something really nice about the old paper-ballot system. You don't
     worry about hacking." http://www.businessinsider.com/donald-trump-election-day-fox-news-20 16-11
      National Academies of Science, Engineering, and Medicine, "Securing the Vote: Protecting American
     Democracy", 2018. https://www.nap.edulcatalog/25 120/securing-the-vote-protecting-american-democracy
     8Additionally, the National Institute of Standards and Technology (NIST) has concluded that it is not possible to
     effectively audit avoting system to detect and correct potential hacking without avoter-verified paper ballot.
     OU.S. Election Assistance Commission, "EAC Releases 48 HAVA Grants State Plans, Budgets," August 2018.
     https://www.eac.gov/news/2018/08/2 I/state--territories-plan-to-spend-majority-of-hava-grant-fands-on-election-sec
     urity-system-upgrades/
     10   The twelve states with large numbers of paperless DRE voting machines are: Delaware, Georgia, Indiana, Kansas,
     Kentucky, Louisiana, Mississippi, New Jersey, Pennsylvania, South Carolina, Tennessee, and Texas. Eight
     additional states use DREs with avoter-verifiable paper audit trail (V\7PAT), an obsolete kind of paper backup:
     Arkansas, California, Illinois, Ohio, North Carolina, Utah, West Virginia, and Wyoming. Verified Voting maintains
     an online database of the equipment in use in each locality: https://www.verifiedvoting.org/verifier/.



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     funds was $13.5 million, only about 25% of the cost of implementing hand-marked paper ballots
     across the state. Georgia's share was $10.3 million, less than athird of what it needs just to
     replace its paperless machines. Without further federal assistance, we risk that new equipment
     and other critical improvements won't be in place for many years. With the 2020 election on the
     horizon—the next major target for foreign cyberattacks—we need to act before it's too late.


     What will it cost to fix the problem? The highest priority should be to replace DRE voting
     equipment nationwide with robustly auditable paper ballots." This would cost about $370
     million, assuming an average of $7500 per precinct to acquire one ballot scanner and one
     accessible voting device.' 2 Under HAVA, funds are allocated to states mainly in proportion to
     voting-age population, rather than by type of existing equipment. If future funding were provided
     under the existing HAVA fonnula, Iestimate that about $900 million in further appropriations
     would be needed to ensure that every state with DREs received at least 50% of the funds needed
     to replace them with hand-marked paper ballots and accessibility devices.


     It's important to understand that states can choose from several kinds of voting equipment, and
     that these choices greatly affect the overall cost and the security achieved. Fortunately, the most
     cost effective approach is also the most secure: hand-marked paper ballots counted using optical
     scanners.' 3 Some localities are opting instead to purchase ballot-marking devices (BMIDs),
     touchscreen computers that voters use to mark and print their ballots. Equipping aprecinct with
     BMDs for all voters costs about three times as much as using hand-marked paper ballots and
     providing adedicated accessibility device for voters with disabilities, and it's also less robust to
     cyberattacks that render the equipment inoperable. Moreover, it has yet to be established whether
     voters can reliably detect errors on BMD-printed ballots—which means that fraud could go
     undetected if the BMDs are hacked to cause them to sometimes print the wrong selections.

     In many states, there are no rules in place to prevent local governments from spending federal
     funds on insecure and unauditable kinds of voting equipment. Some voting machine vendors
     continue to market paperless DREs, as well as DREs with so-called "voter-verifiable paper audit
     trails" (VVPATs)—a roll of paper behind apane of glass that briefly shows the voter's
     selections. VVPATs are badly inferior to paper ballots, because the printouts are difficult for
     voters to read and challenging for election officials to effectively audit. Localities purchasing
     new DREs, whether or not they are equipped with VVPATs, will make it more difficult for states
     to implement risk-limiting audits statewide. To ensure that taxpayer money is well spent,
     Congress should prohibit federal funds from being used to purchase voting equipment that does
     not provide arobustly auditable paper ballot.




      'Once paper ballots are in place, other vital security measures, such as performing risk-limiting audits, are

     relatively inexpensive to implement. Iestimate that performing risk-limiting audits in all federal races nationally
     would cost less than $25 million per year on average.
     12For additional cost estimate data, see: Brennan Center and Verified Voting, "Federal Funds for Election Security:
     Will They Cover the Cost of Voter Marked Paper Ballots?", March 2018. https://www.brennancenter.org/sites/
     default/files/analysisfFederal_ Funds               _Secutity_analysis.pdf
                                           _for Election
      ' Under HAVA, each polling place must also    be equipped with an accessible device to assist voters with disabilities
     in filling out their ballots.


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      Election cybersecurity is an urgent matter of national security. Under our time-honored system,
      implementing the necessary defenses falls to states and local governments. We must not leave
      them to face the threat of powerful foreign adversaries unaided. Congress should provide for the
      common defense by equipping states with the resources they need to deploy robustly auditiable
      paper ballots, risk-limiting audits, and other cybersecurity improvements. With your leadership,
      elections in 2020 and beyond can be well secured, and voters will have good reason to have
      confidence in the results. But if we delay action, Ifear it is only amatter of time until anational
      election result is disrupted or stolen in acyberattack.




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